Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1979 Page 1 of 28


   1    James G. Snell, Bar No. 173070
   2    JSnell@perkinscoie.com
        PERKINS COIE LLP
   3    3150 Porter Drive
        Palo Alto, CA 94304-1212
   4    Telephone: 650.838.4300
        Facsimile: 650.838.4350
   5
   6    Attorneys for Defendant
        Perkins Coie LLP
   7
   8                         UNITED STATES DISTRICT COURT
   9                       SOUTHERN DISTRICT OF CALIFORNIA
  10
  11    TIFFANY DEHEN, an                  Case No. 17-cv-00198-LAB-WVG
        individual on behalf of herself,
  12
                           Plaintiff,      MEMORANDUM OF POINTS AND
  13                                       AUTHORITIES IN SUPPORT OF
              v.                           PERKINS COIE LLP’S MOTION TO
  14                                       DISMISS
        JOHN DOES 1-100,
  15    TWITTER, INC.,
        UNIVERSITY OF SAN                  Hearing Date: July 31, 2018
  16    DIEGO AND PERKINS COIE
        LLP,                               Time: 11:30 a.m.
  17                                       Courtroom: 14A (14th Floor - Carter/Keep)
                           Defendants.
  18                                       Judge: Hon. Larry Alan Burns
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
        Mem. of Points and Authorities ISO                 No. 17-cv-00198-LAB-WVG
        Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1980 Page 2 of 28


   1                                         TABLE OF CONTENTS
   2
                                                                                                                          Page
   3
   4   I.     INTRODUCTION ........................................................................................... 1 
   5   II.    BACKGROUND ............................................................................................. 2 
   6          A.       Procedural History ................................................................................ 2 
   7          B.       Dehen Does Not (And Cannot) Make Specific Allegations
   8                   Against Perkins ..................................................................................... 4 

   9   III.   LEGAL STANDARDS ................................................................................... 5 
  10   IV.    ARGUMENT .................................................................................................. 6 
  11          A.       The Complaint Should Be Dismissed Because It Fails To
                       Satisfy Rule 8’s Basic Notice Requirement .......................................... 6 
  12
  13          B.       The Complaint Should Be Dismissed Under Rule 12(b)(6)
                       Because It Fails To State A Claim Upon Which Relief
  14                   May Be Granted .................................................................................... 7 
  15                   1.       Dehen’s Claims For Extortion And Conspiracy To
                                Commit Extortion Fail ................................................................ 7 
  16
                                a.       The extortion and conspiracy statutes Dehen
  17                                     cites do not include a private cause of action................... 7 
  18
                                b.       Dehen cannot plead sufficient factual matter
  19                                     to state a claim to relief that is plausible on
                                         its face............................................................................... 9 
  20
                                c.       Dehen also fails even to assert, much less
  21                                     plead factual allegations supporting, key
  22                                     elements of extortion under 18 U.S.C. § 875
                                         and 18 U.S.C. § 1951 ..................................................... 10 
  23
                       2.       The Claims Dehen “Reserves The Right” To Plead
  24                            Are Not Actually Pled, And Are Insufficient In
                                Any Event ................................................................................. 12 
  25
                                a.       Obstruction Of Justice .................................................... 12 
  26
  27                            b.       Treason ........................................................................... 13 

  28                            c.       Contempt ........................................................................ 14 
        Mem. of Points and Authorities ISO                         -i-              No. 17-cv-00198-LAB-WVG
        Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1981 Page 3 of 28



   1                                       TABLE OF CONTENTS
   2                                           (continued)
                                                                                                                 Page
   3
                              d.       Racketeer Influenced And Corrupt
   4                                   Organizations Act (“RICO”) .......................................... 14 
   5                          e.       The First Amendment..................................................... 15 
   6                          f.       The Sherman Act ............................................................ 15 
   7                          g.       Civil Conspiracy ............................................................. 16 
   8         C.      Dehen Should Be Denied Leave To Amend ....................................... 17 
   9
       V.    CONCLUSION ............................................................................................. 18 
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
        Mem. of Points and Authorities ISO                    -ii-             No. 17-cv-00198-LAB-WVG
        Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1982 Page 4 of 28


   1                                           TABLE OF AUTHORITIES
   2
                                                                                                                           Page(s)
   3
       CASES
   4
   5   Ajetunmobi v. Clarion Mortg. Capital, Inc.,
          595 F. App’x 680 (9th Cir. 2014) ........................................................................ 16
   6
       Alexandre v. Phibbs,
   7
          116 F.3d 482 (9th Cir. 1997) ................................................................................. 8
   8
       Archer v. City of Taft,
   9      No. 1:12-CV-00261-AWI-JLT, 2012 WL 1458136 (E.D. Cal.
  10      Apr. 26, 2012) ........................................................................................................ 9

  11   Ashcroft v. Iqbal,
          556 U.S. 662 (2009) ...................................................................................... 5, 6, 9
  12
  13   Bailey v. BAC Home Loan Servicing, LP,
          No. 11-00648 LEK-BMK, 2012 WL 589414 (D. Haw. Feb. 21,
  14      2012) ...................................................................................................................... 5
  15
       Bell Atl. Corp. v. Twombly,
  16      550 U.S. 544 (2007) ........................................................................................ 5, 10
  17   Black v. Sciver,
  18      No. 1:16-CV-00841-DAD-JLT, 2016 WL 4594981 (E.D. Cal.
          Sept. 2, 2016) ......................................................................................................... 9
  19
       Brantley v. NBC Universal Inc.,
  20
          675 F.3d 1192 (9th Cir. 2012) ....................................................................... 15, 16
  21
       Cafasso, U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047
  22     (9th Cir. 2011) ....................................................................................................... 7
  23
       Cedric Kushner Promotions, Ltd. v. King,
  24     533 U.S. 158 (2001) ............................................................................................ 14
  25   Cent. Hardware Co. v. NLRB,
  26     407 U.S. 539 (1972) ............................................................................................ 15
  27   Clements v. Chapman,
  28      189 F. App’x 688 (10th Cir. 2006) ........................................................................ 8

        Mem. of Points and Authorities ISO                             -iii-             No. 17-cv-00198-LAB-WVG
        Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1983 Page 5 of 28



   1                                           TABLE OF AUTHORITIES
   2                                                 (continued)
                                                                                                                           Page(s)
   3
       Cox v. Ashcroft,
   4     603 F. Supp. 2d 1261 (E.D. Cal. 2009) ................................................................. 7
   5
       Cty. of Tuolumne v. Sonora Cmty. Hosp.,
   6      236 F.3d 1148 (9th Cir. 2001) ............................................................................. 15
   7   Delacruz v. State Bar of Cal.,
   8     No. 5:14-CV-05336-EJD, 2015 WL 5697365 (N.D. Cal. Sept. 29,
         2015) ...................................................................................................................... 8
   9
       Fed. Trade Comm’n v. Enforma Nat. Prod., Inc.,
  10
         362 F.3d 1204 (9th Cir. 2004) ............................................................................. 14
  11
       Gardner v. Martino,
  12     563 F.3d 981 (9th Cir. 2009) ............................................................................... 17
  13
       Harrell v. 20th Century Ins. Co.,
  14     934 F.2d 203 (9th Cir. 1991) ......................................................................... 16, 17
  15   Harris-Scott v. Obama,
  16     No. CV 09-2641 ODW (SSX), 2009 WL 10675180 (C.D. Cal.
         July 17, 2009) ........................................................................................................ 5
  17
  18   Hearns v. San Bernardino Police Dep’t,
         530 F.3d 1124 (9th Cir. 2008) ............................................................................... 5
  19
       Hunter v. Dutch Gold Res., Inc.,
  20     No. 1:11-CV-01450-CL, 2012 WL 1279474 (D. Or. Apr. 13, 2012) ................... 3
  21
       Klamath-Lake Pharm. Ass’n v. Klamath Med. Serv. Bureau,
  22      701 F.2d 1276 (9th Cir. 1983) ............................................................................... 6
  23   Kraft v. Old Castle Precast Inc.,
  24     No. LA CV 15-00701-VBF, 2015 WL 4693220 (C.D. Cal. Aug. 5,
         2015) ...................................................................................................................... 8
  25
  26   Leibman v. Prupes,
          No. 2:14-CV-09003-CAS, 2015 WL 898454 (C.D. Cal. Mar. 2,
  27      2015) ...................................................................................................................... 8
  28
        Mem. of Points and Authorities ISO                             -iv-              No. 17-cv-00198-LAB-WVG
        Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1984 Page 6 of 28



   1                                          TABLE OF AUTHORITIES
   2                                                (continued)
                                                                                                                          Page(s)
   3
       Living Designs, Inc. v. E.I. Dupont de Nemours & Co.,
   4      431 F.3d 353 (9th Cir. 2005) ............................................................................... 14
   5
       McKinney v. Martinez,
   6     No. 3:16-CV-000448-MMD-VPC, 2016 WL 8504499 (D. Nev.
         Nov. 21, 2016) ....................................................................................................... 7
   7
   8   Middleton v. Pan,
         No. CV 16-5224-SVW (AGR), 2017 WL 7053936 (C.D. Cal.
   9     Dec. 18, 2017) ....................................................................................................... 8
  10
       Najarro v. Wollman,
  11     No. C 12-1925 PJH, 2012 WL 1945502 (N.D. Cal. May 30, 2012)................... 13
  12   Novation Ventures, LLC v. J.G. Wentworth Co., LLC,
  13     156 F. Supp. 3d 1094 (C.D. Cal. 2015) ............................................................... 16
  14   Pena v. Gardner,
         976 F.2d 469 (9th Cir. 1992) ................................................................................. 7
  15
  16   Ponvanit v. Superior Court of California,
         No. CV 17-4054-FMO (JEM), 2018 WL 1135380 (C.D. Cal.
  17     Jan. 31, 2018)....................................................................................................... 13
  18
       Red Nation P’ship v. Kiga,
  19     51 F. App’x 630 (9th Cir. 2002) .......................................................................... 14
  20   Roberts v. AT&T Mobility LLC,
  21     877 F.3d 833 (9th Cir. 2017) ............................................................................... 15
  22   Robinson v. Joya,
  23     No. 1:08-1339 JLS (BLM), 2010 WL 890437 (E.D. Cal. Mar. 8,
         2010) ...................................................................................................................... 8
  24
       Rutman Wine Co. v. E. & J. Gallo Winery,
  25      829 F.2d 729 (9th Cir. 1987) ............................................................................... 17
  26
       Scheidler v. Nat’l Org. for Women, Inc.,
  27      537 U.S. 393 (2003) ............................................................................................ 15
  28
        Mem. of Points and Authorities ISO                             -v-              No. 17-cv-00198-LAB-WVG
        Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1985 Page 7 of 28



   1                                          TABLE OF AUTHORITIES
   2                                                (continued)
                                                                                                                         Page(s)
   3
       Schneider v. Cal. Dep’t of Corr.,
   4      151 F.3d 1194 (9th Cir. 1998) ............................................................................. 17
   5
       Sedima, S.P.R.L. v. Imrex Co.,
   6      473 U.S. 479 (1985) ............................................................................................ 15
   7   Shetty v. Am.’s Wholesale Lender, No. 16-CV-05846 NC, 2017 WL
   8      3387467 (N.D. Cal. Aug. 7, 2017) ...................................................................... 13
   9   Symantec Corp. v. Global Impact, Inc.,
         559 F.3d 922 (9th Cir. 2009) ................................................................................. 3
  10
  11   Thomas v. Bryant,
         No. C09-5189-RBL, 2009 WL 2473662 (W.D. Wash. Aug. 7,
  12     2009) .................................................................................................................... 13
  13
       United States v. Brank,
  14     No. 15-50467, ___ F. App’x ___, 2018 WL 732704 (9th Cir.
         Feb. 6, 2018) ........................................................................................................ 11
  15
  16   United States v. Garcia-Santana,
         774 F.3d 528 (9th Cir. 2014) ............................................................................... 11
  17
  18   United States v. Korab,
         893 F.2d 212 (9th Cir. 1989) ............................................................................... 10
  19
       United States v. Loveland,
  20     825 F.3d 555 (9th Cir. 2016) ............................................................................... 11
  21
       United States v. Lynch,
  22     437 F.3d 902 (9th Cir. 2006) ............................................................................... 10
  23   United States v. Orlando,
  24     819 F.3d 1016 (7th Cir. 2016) ............................................................................... 8
  25   United States v. Tormos-Vega,
  26     959 F.2d 1103 (1st Cir. 1992) ............................................................................... 8

  27
  28
        Mem. of Points and Authorities ISO                            -vi-              No. 17-cv-00198-LAB-WVG
        Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1986 Page 8 of 28



   1                                          TABLE OF AUTHORITIES
   2                                                (continued)
                                                                                                                        Page(s)
   3
       Vachon v. Reverse Mortg. Sols., Inc.,
   4     No. EDCV 16-02419-DMG (KES), 2017 WL 6628103 (C.D. Cal.
   5     Aug. 11, 2017) ..................................................................................................... 13

   6   Volis v. Hous. Auth. of the City of Los Angeles (HACLA),
          No. CV 14-08747 DDP (PLAx), 2016 WL 5745079 (C.D. Cal.
   7
          Sept. 30, 2016) ..................................................................................................... 13
   8
       Williams v. Anderson,
   9      No. 1:18-CV-00183-AWI-SKO, 2018 WL 1806462 (E.D. Cal.
  10      Apr. 17, 2018) ...................................................................................................... 13
  11   Wisdom v. First Midwest Bank, of Poplar Bluff,
         167 F.3d 402 (8th Cir. 1999) ................................................................................. 8
  12
  13   Young v. U.S. ex rel. Vuitton et Fils S.A.,
         481 U.S. 787 (1987) ............................................................................................ 14
  14
       Zucco Partners, LLC v. Digimarc Corp.,
  15
          552 F.3d 981 (9th Cir. 2009), as amended (Feb. 10, 2009) ................................ 17
  16
       STATUTES
  17
  18   15 U.S.C. § 1............................................................................................................. 15

  19   15 U.S.C. § 2....................................................................................................... 15, 16
  20   18 U.S.C. § 241........................................................................................................... 9
  21   18 U.S.C. § 371..................................................................................................... 9, 11
  22
       18 U.S.C. § 875.................................................................................................. passim
  23
       18 U.S.C. § 1503................................................................................................. 12, 13
  24
  25   18 U.S.C. § 1505....................................................................................................... 13

  26   18 U.S.C. § 1512....................................................................................................... 13
  27   18 U.S.C. § 1513....................................................................................................... 13
  28
        Mem. of Points and Authorities ISO                          -vii-             No. 17-cv-00198-LAB-WVG
        Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1987 Page 9 of 28



   1                                          TABLE OF AUTHORITIES
   2                                                (continued)
                                                                                                                          Page(s)
   3
       18 U.S.C. § 1951................................................................................................ passim
   4
       18 U.S.C. § 1962(c) .................................................................................................. 14
   5
   6   18 U.S.C. § 2381................................................................................................. 13, 14

   7   RULES
   8   Fed. R. Civ. P. 4(d)(3) ................................................................................................ 3
   9
       Fed. R. Civ. P. 7(a) ................................................................................................... 17
  10
       Fed. R. Civ. P. 8 ................................................................................................. passim
  11
       Fed. R. Civ. P. 11 .................................................................................................... 1, 3
  12
  13   Fed. R. Civ. P. 12(b)(6) ..................................................................................... passim
  14   OTHER AUTHORITIES
  15   2 JAMES W. MOORE, MOORE’S FEDERAL PRACTICE § 12.34[2] (3d ed.
  16      1997) .................................................................................................................... 17
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
        Mem. of Points and Authorities ISO                           -viii-             No. 17-cv-00198-LAB-WVG
        Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1988 Page 10 of 28


    1                                 I.     INTRODUCTION
    2         Tiffany Dehen’s second amended complaint (“SAC”) purports to bring
    3   claims against Perkins Coie LLP (“Perkins”), the law firm defending Twitter, Inc.
    4   (“Twitter”) in this case. The SAC is 69 pages long and includes 149 exhibits, but
    5   fails to connect Perkins to any of the alleged facts giving rise to the harms that
    6   Dehen allegedly suffered. Instead, Perkins appears to have been named solely in
    7   retaliation for being the firm Twitter retained to defend it.
    8         In granting leave to file the SAC, this Court imposed several conditions on
    9   Dehen including, among other things, that the SAC contain “a short and plain
   10   statement” showing Dehen is entitled to relief; that the SAC “include facts that
   11   show Dehen can plausibly allege the elements for each cause of action she asserts”;
   12   that Dehen “delet[e] meritless claims or irrelevant material”; and that Dehen
   13   comply with Rule 11, which requires “a nonfrivolous legal basis for her claims”
   14   and “facts to back them up.” Dkt. 54 at 2. The Court also cautioned that “[i]t’s not
   15   good enough to allege conclusions, ‘reserve the right’ to make other claims, or to
   16   include extraneous material.” Id.
   17         Dehen has not complied with the Court’s conditions, and the SAC should be
   18   dismissed with prejudice for the following reasons:
   19         First, Dehen has not eliminated irrelevant or extraneous material. The SAC is
   20   prolix, rambling and often impenetrable and simply does not give Perkins fair
   21   notice of the claims against it. The SAC should therefore be dismissed under
   22   Federal Rule of Civil Procedure (“Rule”) 8.
   23         Second, generously construed, Dehen appears to allege harm from (1) an
   24   automobile collision in February 2017, and (2) unwanted attention she received
   25   from an unnamed woman at a courthouse in June 2017. But, again contrary to the
   26   Court’s requirements, Dehen fails to plead facts linking Perkins to either incident or
   27   facts supporting the elements of her claims. Dehen’s claims against Perkins are thus
   28   fatally deficient and must be dismissed under Rule 12(b)(6).
         Mem. of Points and Authorities ISO         -1-         No. 17-cv-00198-LAB-WVG
         Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1989 Page 11 of 28



    1         Third, Dehen claims that Perkins is liable for extortion and conspiracy to
    2   commit extortion under 18 U.S.C. § 875(d) and 18 U.S.C. § 1951. But neither
    3   statute includes a private right of action. Dehen has thus not alleged “a nonfrivolous
    4   legal basis for her claims” as this Court required.
    5         Fourth, again ignoring the Court’s requirements, Dehen “reserves the right”
    6   to bring additional claims, including claims for obstruction of justice, treason,
    7   violations of the Sherman Antitrust Act, and violations of the Racketeer Influenced
    8   and Corrupt Organizations Act. But none of those claims are actually pled, let alone
    9   against Perkins, so none of them save the SAC (and even if Dehen had asserted
   10   those claims, they would each fail on various grounds described below).
   11         For these reasons, Dehen’s belated and implausible effort to blame Twitter’s
   12   counsel for her misfortunes are meritless. Dehen has had several chances to file an
   13   adequate pleading, the Court has required her to meet certain standards, and she has
   14   failed to do so. Dehen’s claims against Perkins should be dismissed with prejudice.
   15                                 II.    BACKGROUND
   16   A.    Procedural History
   17         On February 1, 2017, Dehen sued Twitter, the University of San Diego
   18   (“USD”), and John Doe based on a Twitter account (“@tiffanydehen”) allegedly
   19   created by John Doe that purported to parody Dehen. Dehen moved to file an
   20   amended complaint several months later. See Dkt. 13. The first amended complaint,
   21   which was 57 pages long, included thirteen causes of action and 61 exhibits.
   22   Twitter retained Perkins to defend against Dehen’s claims, and Twitter timely
   23   moved to dismiss the first amended complaint. See Dkt. 30. USD also filed a
   24   motion to dismiss. See Dkt. 29.
   25         On February 13, 2018, Dehen moved to file a second amended complaint.
   26   See Dkt. 45. Twitter and USD opposed the amendment. See Dkt. 48, 50. Dehen’s
   27   proposed SAC, which was 71 pages long and included 68 exhibits, included new
   28   causes of action. See Dkt. 45. It also added Perkins as a defendant.
         Mem. of Points and Authorities ISO         -2-         No. 17-cv-00198-LAB-WVG
         Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1990 Page 12 of 28



    1            Citing Rule 15’s liberal amendment standard, the Court granted Dehen’s
    2   motion to file her SAC. See Dkt. 54. The Court imposed several conditions,
    3   however, including that the SAC contain “a short and plain statement” showing
    4   Dehen is entitled to relief; that “each allegation . . . be simple, concise, and direct”;
    5   that the SAC “include facts that show Dehen can plausibly allege the elements for
    6   each cause of action she asserts”; that Dehen “fix[] any problems [Twitter and
    7   USD] identified” in their motions to dismiss; that Dehen “delet[e] meritless claims
    8   or irrelevant material, and add[] specific factual allegations to support claims she
    9   believes are meritorious”; and that Dehen comply with Rule 11, which requires “a
   10   nonfrivolous legal basis for her claims” and “facts to back them up.” Id. at 2. The
   11   Court also cautioned that “[i]t’s not good enough to allege conclusions, ‘reserve the
   12   right’ to make other claims, or to include extraneous material.” Id.
   13            Dehen filed her SAC on April 6. See Dkt. 55. The 69-page SAC includes 149
   14   exhibits, more than twice the number filed with Dehen’s first amended complaint
   15   and proposed SAC. See id.; Dkt. 55-2. The SAC includes all the allegations from
   16   the first amended complaint and, contrary to the Court’s instruction, does not
   17   address the arguments in Twitter’s and USD’s motions to dismiss.
   18            On April 12, 2018, Dehen requested that Perkins waive service of summons.
   19   See Dkt. 59. Perkins timely waived service on April 24, 2018, making its answer or
   20   response due on June 11, 2018. See id.; see also Fed. R. Civ. P. 4(d)(3).1 Perkins
   21   now timely moves to dismiss Dehen’s claims.
   22
        1
   23    Dehen’s request for a default judgment against Perkins, which she includes in her
        opposition to Twitter’s and USD’s motions to dismiss (see Dkts. 60 at 4, 60-1 at
   24   14), is therefore frivolous. It also does not comply with the Federal Rules governing
        entry of default and default judgment. “Rule 55 requires a ‘two-step process’
   25   consisting of: (1) seeking a clerk’s entry of default, and (2) filing a motion for the
   26   entry of default judgment.” Hunter v. Dutch Gold Res., Inc., No. 1:11-CV-01450-
        CL, 2012 WL 1279474, at *1 (D. Or. Apr. 13, 2012); see also Symantec Corp. v.
   27   Global Impact, Inc., 559 F.3d 922, 923 (9th Cir. 2009) (same).
   28
            Mem. of Points and Authorities ISO       -3-         No. 17-cv-00198-LAB-WVG
            Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1991 Page 13 of 28



    1   B.    Dehen Does Not (And Cannot) Make Specific Allegations Against
    2         Perkins

    3         Dehen’s claims against Perkins are rooted in two incidents, neither of which

    4   have any discernible connection to Perkins. First, Dehen alleges she “was involved

    5   in a serious automobile collision in Pacific Beach” on February 20, 2017. SAC ¶

    6   142. According to Dehen, “[t]he San Diego Police Department refused to record an

    7   incident report regarding the accident.” Id. Dehen claims that she reported the

    8   collision to the FBI “out of fear and suspicion that the accident was intentional and

    9   related to either the underlying threatening terroristic behavior [of a USD student]

   10   or the freshly filed federal complaint Ms. Dehen filed 19 days prior, or both.” Id. ¶

   11   143. Dehen does not allege a single fact suggesting that Perkins was aware of this

   12   accident, let alone that Perkins orchestrated or participated in it. Nevertheless, she

   13   makes the conclusory assertion that “Perkins Coie, LLP working in conjunction

   14   with Twitter and/or USD, attempted intimidation against Plaintiff in the form of

   15   actual physical harm of Plaintiff in the serious 02/20/2017 automobile collision and

   16   threatened harm to Plaintiff physically, financially and reputationally, with actual

   17   harm resulting to Plaintiff.” Id. ¶ 330. No facts support that conclusion.

   18         Second, Dehen alleges she received unwanted attention from an unnamed

   19   woman in June 2017. Id. ¶ 154. According to Dehen, she met the woman on June

   20   23, 2017 while “submitt[ing] documents related to this case with the Southern

   21   District of California.” Id. Dehen alleges that she assisted the woman, who was

   22   elderly and in a wheelchair, and ate lunch with her. Id. But Dehen allegedly

   23   “became uncomfortable when it appeared as though this woman was interested in

   24   learning details about Ms. Dehen’s case not yet disclosed and tried pushing Ms.

   25   Dehen to work on her case at her ‘office’ in downtown San Diego.” Id. According

   26   to Dehen, “the woman contacted Ms. Dehen about ten or more times the next two

   27   days, to the point where Ms. Dehen had to block this woman from further contact

   28   via blocking her phone number.” Id. Dehen alleges as “relevant” that the woman’s

         Mem. of Points and Authorities ISO         -4-         No. 17-cv-00198-LAB-WVG
         Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1992 Page 14 of 28



    1   daughter works for the law firm Jones Day (not Perkins). Id. Again, Dehen alleges
    2   no facts suggesting that Perkins was aware of or involved with this supposed
    3   chance encounter. Nevertheless, in conclusory fashion, she “alleges collusion
    4   between Perkins Coie LLP and this woman in an attempt to extort and intimidate
    5   Ms. Dehen because Ms. Dehen alleges this woman was sent as an agent of Perkins
    6   Coie to harass and intimidate Ms. Dehen from pursuing her claims in court.” Id. No
    7   facts support that conclusion.
    8         Based on these events, Dehen seeks $100 million in damages from Perkins.
    9   SAC at 2. She also asks that Perkins be “enjoined, fined . . . [and] sanctioned for
   10   engaging in Hobbs Act violations.” Id. at 68.
   11                               III.   LEGAL STANDARDS
   12         Rule 8 requires plaintiffs to provide a “short and plain statement of the claim
   13   showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). The Rule
   14   further provides that “[e]ach allegation must be simple, concise, and direct.” Id.
   15   8(d)(1). “The court may dismiss a complaint for failure to satisfy Rule 8 if it is so
   16   confusing that its ‘true substance, if any, is well disguised.’” Bailey v. BAC Home
   17   Loan Servicing, LP, No. 11-00648 LEK-BMK, 2012 WL 589414, at *1 (D. Haw.
   18   Feb. 21, 2012) (quoting Hearns v. San Bernardino Police Dep’t, 530 F.3d 1124,
   19   1131 (9th Cir. 2008)); see also Harris-Scott v. Obama, No. CV 09-2641 ODW
   20   (SSX), 2009 WL 10675180, at *4 (C.D. Cal. July 17, 2009) (“[A] district court may
   21   dismiss a complaint for failure to comply with Rule 8 where it fails to provide the
   22   defendants fair notice of the wrongs they have allegedly committed.”).
   23         To survive a motion to dismiss under Rule 12(b)(6), a plaintiff’s “[f]actual
   24   allegations must be enough to raise a right to relief above the speculative level.”
   25   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). That is, “a complaint must
   26   contain sufficient factual matter, accepted as true, to state a claim to relief that is
   27   plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal
   28   quotation marks and citation omitted). This requires a plaintiff to plead “factual
         Mem. of Points and Authorities ISO           -5-         No. 17-cv-00198-LAB-WVG
         Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1993 Page 15 of 28



    1   content that allows the court to draw the reasonable inference that the defendant is
    2   liable for the misconduct alleged.” Id. “Threadbare recitals of the elements of a
    3   cause of action, supported by mere conclusory statements, do not suffice.” Id.
    4   Denying leave to amend is appropriate when amendment would be “futil[e].”
    5   Klamath-Lake Pharm. Ass’n v. Klamath Med. Serv. Bureau, 701 F.2d 1276, 1293
    6   (9th Cir. 1983).
    7                                    IV.    ARGUMENT
    8   A.    The Complaint Should Be Dismissed Because It Fails To Satisfy Rule 8’s
              Basic Notice Requirement
    9
              Dehen’s SAC fails to satisfy Rule 8’s basic notice requirement and violates
   10
        the Court’s order that the complaint contain “a short and plain statement” showing
   11
        Dehen is entitled to relief, and that “each allegation . . . be simple, concise, and
   12
        direct.” Dkt. 54. Over the course of 69 rambling pages, Dehen seems to assert that
   13
        Perkins is responsible for two unrelated misfortunes in her life: a car accident and
   14
        an unpleasant encounter with an unnamed woman. But Dehen does not allege a
   15
        single fact suggesting that Perkins was aware of those events, let alone that Perkins
   16
        orchestrated those events for extortionate purposes. She does allude to various
   17
        issues allegedly involving Perkins that have no relationship to her or this case. See,
   18
        e.g., SAC ¶ 281. But those elliptical references to irrelevant matters shed no light
   19
        on why Dehen is seeking relief from Perkins in this case.
   20
              The SAC also violates Rule 8 because it alludes to a variety of claims that are
   21
        not expressly pled. Over a dozen times in the SAC, Dehen “reserves the right” to
   22
        bring additional claims, sometimes against “named and unnamed” defendants. But
   23
        none of those claims are actually alleged, let alone against Perkins.
   24
              Moreover, some of the SAC’s causes of action fail to specify against which
   25
        defendant (or defendants) they are asserted. See SAC at 65 (heading for
   26
        “EXTORTION AND HOBBS ACT VIOLATIONS” not asserted against any
   27
        defendant); id. at 56 (ninth cause of action for “civil conspiracy” not asserted
   28
         Mem. of Points and Authorities ISO          -6-         No. 17-cv-00198-LAB-WVG
         Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1994 Page 16 of 28



    1   against any defendant).
    2         In short, the SAC fails to provide Perkins fair notice of the claims against it
    3   and should be dismissed with prejudice for that reason alone. See, e.g., Cafasso,
    4   U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1059 (9th Cir. 2011)
    5   (Rule 8(a) has “been held to be violated by a pleading that was needlessly long, or a
    6   complaint that was highly repetitious, or confused, or consisted of
    7   incomprehensible rambling.”) (citation omitted); McKinney v. Martinez, No. 3:16-
    8   CV-000448-MMD-VPC, 2016 WL 8504499, at *2 (D. Nev. Nov. 21, 2016)
    9   (Plaintiff’s “complaint is rambling, nonsensical, filled with legal jargon, and with
   10   vague references to state and federal laws. Dismissal on those grounds alone is
   11   appropriate.”); Cox v. Ashcroft, 603 F. Supp. 2d 1261, 1271-72 (E.D. Cal. 2009)
   12   (“Claims based on vague and conclusory allegations, which fail to specify each
   13   defendant’s role in the alleged conspiracy, are subject to dismissal.”) (citing Pena v.
   14   Gardner, 976 F.2d 469, 471 (9th Cir. 1992)).
   15   B.    The Complaint Should Be Dismissed Under Rule 12(b)(6) Because It
              Fails To State A Claim Upon Which Relief May Be Granted
   16
              Even if Dehen’s SAC complied with Rule 8 (it does not), her claims against
   17
        Perkins should be dismissed nonetheless because Dehen has not alleged and cannot
   18
        allege a plausible claim against Perkins.
   19
   20         1.     Dehen’s Claims For Extortion And Conspiracy To Commit
                     Extortion Fail
   21
                     a.    The extortion and conspiracy statutes Dehen cites do not
   22                      include a private cause of action
   23         In her Sixteenth Cause of Action, Dehen alleges extortion and conspiracy to
   24   commit extortion against Perkins. Specifically, she alleges “violations of 18 U.S.C.
   25   § 875(d) and 18 U.S.C. § 1951 against Perkins Coie, LLP including actual extortion
   26   as defined under 18 U.S.C. § 1951(b).” SAC ¶ 329.
   27         Dehen cannot state a claim under those statutes “as a matter of law” because
   28
         Mem. of Points and Authorities ISO         -7-        No. 17-cv-00198-LAB-WVG
         Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1995 Page 17 of 28



    1   they “do not provide for civil liability.” Delacruz v. State Bar of Cal., No. 5:14-CV-
    2   05336-EJD, 2015 WL 5697365, at *9 (N.D. Cal. Sept. 29, 2015) (dismissing with
    3   prejudice claim brought under 18 U.S.C. § 875); see also Alexandre v. Phibbs, 116
    4   F.3d 482, at *1 (9th Cir. 1997) (unpublished table decision) (private plaintiff could
    5   not state a claim under 18 U.S.C. § 1951).2 Accordingly, Dehen’s extortion claims
    6   must be dismissed with prejudice.
    7            Dehen’s conspiracy claims must be dismissed for the same reason.
    8   Conspiracy to commit extortion is a crime defined at 18 U.S.C. § 1951,3 and, as
    9   noted, there is no private right of action under that statute. To the extent Dehen
   10   alleges a conspiracy to violate 18 U.S.C. § 875, a plaintiff may not allege a claim
   11   for conspiracy to violate a criminal statute where there is no private right of action
   12   under that statute. See Robinson v. Joya, No. 1:08-1339 JLS (BLM), 2010 WL
   13   890437, at *11 (E.D. Cal. Mar. 8, 2010); see also Kraft v. Old Castle Precast Inc.,
   14   No. LA CV 15-00701-VBF, 2015 WL 4693220, at *4 (C.D. Cal. Aug. 5, 2015)
   15   (“Because Kraft has not shown that there is a private right of action for violation of
   16   the criminal obstruction statute, he also has not carried his burden of showing there
   17   is a private right of action for conspiring to violate that statute.”). Nor is there a
   18
   19   2
          See also, e.g., Clements v. Chapman, 189 F. App’x 688, 692 (10th Cir. 2006) (the
   20   district court properly dismissed claims under 18 U.S.C. § 875 and 18
   21   U.S.C. § 1951 because those statutes do not provide for a private cause of action);
        Wisdom v. First Midwest Bank, of Poplar Bluff, 167 F.3d 402, 408-09 (8th Cir.
   22   1999) (implied private right of action does not exist under federal extortion statute,
   23   18 U.S.C. § 1951); Middleton v. Pan, No. CV 16-5224-SVW (AGR), 2017 WL
        7053936, at *6 (C.D. Cal. Dec. 18, 2017) (no private right of action under the
   24   Hobbs Act, 18 U.S.C. § 1951), appeal docketed, No. 18-55268 (9th Cir. Feb. 28,
   25   2018); Leibman v. Prupes, No. 2:14-CV-09003-CAS, 2015 WL 898454, at *14
        (C.D. Cal. Mar. 2, 2015) (dismissing without leave to amend claims under 18
   26   U.S.C. § 875 because the statute “[does] not confer a civil right of action”).
        3
          See United States v. Tormos-Vega, 959 F.2d 1103, 1114 (1st Cir. 1992); see also
   27   United States v. Orlando, 819 F.3d 1016, 1021 (7th Cir. 2016) (defendants were
   28   charged with conspiracy to commit extortion in violation of 18 U.S.C. § 1951(a)).
            Mem. of Points and Authorities ISO        -8-         No. 17-cv-00198-LAB-WVG
            Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1996 Page 18 of 28



    1   private right of action under the general conspiracy statutes, 18 U.S.C. §§ 241 and
    2   371. See Black v. Sciver, No. 1:16-CV-00841-DAD-JLT, 2016 WL 4594981, at *5
    3   (E.D. Cal. Sept. 2, 2016) (plaintiff failed to show a private right of action under the
    4   general federal conspiracy statute, 18 U.S.C. § 371); Archer v. City of Taft, No.
    5   1:12-CV-00261-AWI-JLT, 2012 WL 1458136, at *6 (E.D. Cal. Apr. 26, 2012) (no
    6   private right of action for conspiracy in violation of 18 U.S.C. § 241, which
    7   criminalizes “[c]onspiracy against rights”).
    8         In sum, Dehen cannot state a claim against Perkins for violating or
    9   conspiring to violate 18 U.S.C. § 875(d) or 18 U.S.C. § 1951. Her claims must be
   10   dismissed in their entirety.
   11                b.     Dehen cannot plead sufficient factual matter to state a claim
                            to relief that is plausible on its face
   12
   13         Even if Dehen could sue under 18 U.S.C. § 875(d) or 18 U.S.C. § 1951,

   14   which she cannot, she fails to plead sufficient factual matter to state a claim to relief

   15   that is plausible on its face. Section 875 criminalizes the transmission of certain

   16   communications made with intent to extort in interstate or foreign commerce. 18

   17   U.S.C. § 875(d). Section 1951 provides that whoever “obstructs, delays, or affects

   18   commerce . . . by . . . extortion or attempts or conspires so to do” shall be fined or

   19   imprisoned or both. 18 U.S.C. § 1951. Again, Dehen alleges that she was involved

   20   in an automobile collision and received unwanted attention from an unnamed

   21   woman. But Dehen fails to plead any facts that would “allow[] the court to draw the

   22   reasonable inference that [Perkins] is liable for” —or even knew about—either

   23   incident. Iqbal, 556 U.S. at 678.

   24         As for the car collision, Dehen alleges “fear and suspicion that the accident

   25   was intentional.” SAC ¶ 143 (emphasis added). She then baldly asserts that Perkins,

   26   “working in conjunction with Twitter and/or USD,” caused the accident to

   27   intimidate her. Id. ¶ 330. But apart from that conclusory assertion, Dehen does

   28   not—and cannot—point to any facts linking Perkins to the car accident. In the

         Mem. of Points and Authorities ISO          -9-        No. 17-cv-00198-LAB-WVG
         Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1997 Page 19 of 28



    1   absence of any factual allegations linking Perkins to the collision, Dehen has not
    2   “raise[d] a right to relief above the speculative level.” Twombly, 550 U.S. at 555.
    3   Indeed, Dehen has not “nudged [her] claims across the line” from fanciful to
    4   conceivable, let alone from “conceivable to plausible.” Id. at 570.
    5         The same is true with respect to the unwanted attention from the unnamed
    6   woman. Dehen alleges that the woman’s daughter works for a different law firm,
    7   Jones Day. SAC ¶ 154. But she alleges no facts connecting the woman to Perkins.
    8   Without such factual allegations, the court cannot reasonably infer that Perkins
    9   “collu[ded]” with the woman “to extort and intimidate Ms. Dehen.” Id.
   10         Dehen’s failure to plead any facts linking Perkins to either incident violates
   11   the Court’s order that she have “a nonfrivolous legal basis for her claims” and
   12   “facts to back them up.” Dkt. 54. It also dooms her claims under Rule 12.
   13                c.    Dehen also fails even to assert, much less plead factual
                           allegations supporting, key elements of extortion under 18
   14                      U.S.C. § 875 and 18 U.S.C. § 1951
   15         Even if Dehen could allege facts from which the Court could infer that
   16   Perkins was involved in the car collision or the incident involving the unnamed
   17   woman, which she cannot, Perkins could not be charged with extortion. “The term
   18   ‘extortion’ means the obtaining of property from another, with his consent, induced
   19   by wrongful use of actual or threatened force, violence, or fear, or under color of
   20   official right.” 18 U.S.C. § 1951(b)(2) (emphasis added). Dehen fails even to assert
   21   that Perkins obtained property from her, and she certainly alleges no facts
   22   suggesting that Perkins obtained or attempted to obtain property from her.
   23         Nor has Dehen alleged any facts demonstrating a connection to interstate
   24   commerce, as required by both 18 U.S.C. § 875 and 18 U.S.C. § 1951. See United
   25   States v. Korab, 893 F.2d 212, 213 (9th Cir. 1989) (“The transmittal of a threat in
   26   interstate commerce is an integral element of federal extortion” under 18 U.S.C. §
   27   875.); United States v. Lynch, 437 F.3d 902, 909 (9th Cir. 2006) (“[t]he interstate
   28   nexus requirement” of 18 U.S.C. § 1951 “is satisfied by proof of a probable or
         Mem. of Points and Authorities ISO        -10-        No. 17-cv-00198-LAB-WVG
         Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1998 Page 20 of 28



    1   potential impact on interstate commerce”) (internal quotation marks and citation
    2   omitted). Dehen’s car accident and her contact with the unnamed woman allegedly
    3   took place within California, and she cannot show how those incidents or her suit in
    4   this case would affect interstate commerce.
    5         Additionally, with respect to 18 U.S.C. § 875(d), Dehen has not alleged that
    6   Perkins (i) transmitted a communication (ii) containing a threat (iii) with the
    7   requisite mental state. See 18 U.S.C. § 875(d) (“Whoever, with intent to extort from
    8   any person, firm, association, or corporation, any money or other thing of value,
    9   transmits in interstate or foreign commerce any communication containing any
   10   threat to injure the property or reputation of the addressee or of another or the
   11   reputation of a deceased person or any threat to accuse the addressee or any other
   12   person of a crime, shall be fined under this title or imprisoned not more than two
   13   years, or both.”) (emphasis added); United States v. Brank, No. 15-50467, ___ F.
   14   App’x ___, 2018 WL 732704, at *1 (9th Cir. Feb. 6, 2018) (18 U.S.C. § 875(d)
   15   requires the transmission of a communication containing a threat).
   16         Dehen’s claims for conspiracy to commit extortion are similarly deficient.
   17   “Conspiracy is an agreement to commit a crime, and the intent to commit the
   18   underlying offense.” United States v. Loveland, 825 F.3d 555, 559 (9th Cir. 2016).
   19   The general conspiracy statute, 18 U.S.C. § 371, “also requires an overt act.”
   20   United States v. Garcia-Santana, 774 F.3d 528, 535 (9th Cir. 2014). Dehen has not
   21   alleged any facts suggesting that Perkins (1) made an agreement with either Twitter
   22   or USD to commit extortion; (2) intended to commit extortion; or (3) committed
   23   any overt acts in furtherance of the purported conspiracy.
   24         Dehen’s SAC therefore violates the Court’s order requiring her to “include
   25   facts . . . show[ing] [she] can plausibly allege the elements for each cause of action
   26   she asserts.” Dkt. 54 at 2. And because she has come nowhere near alleging such
   27   facts, her SAC should be dismissed under Rule 12(b)(6).
   28
         Mem. of Points and Authorities ISO        -11-        No. 17-cv-00198-LAB-WVG
         Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.1999 Page 21 of 28



    1            2.    The Claims Dehen “Reserves The Right” To Plead Are Not
                       Actually Pled, And Are Insufficient In Any Event
    2
                 This Court clearly warned Dehen that “[i]t’s not good enough to . . . ‘reserve
    3
        the right’ to make other claims.” Dkt. 54 at 2. Yet Dehen’s SAC does precisely that:
    4
        It “reserve[s] the right” to allege a laundry list of additional claims against Perkins,
    5
        including obstruction of justice, SAC ¶ 281; treason, id.; contempt of court, id.;
    6
        racketeering, id.; violations of the First Amendment, id. ¶ 161; violations of the
    7
        Sherman Act, id. ¶¶ 183, 281; and civil conspiracy, id. ¶¶ 278, 280.4 The Court
    8
        should ignore these “reserved” claims because they are not actually pled. Even if
    9
        Dehen had pled these claims, however, each would fail because she cannot allege
   10
        facts to support them. They would also fail for the following additional reasons:
   11
                       a.     Obstruction Of Justice
   12
                 Dehen “allege[s] that discovery will prove that [Perkins] is guilty of . . .
   13
        obstructing justice” and, relatedly, “impeding federal law enforcement
   14
        investigations,” which could be a type of obstruction of justice. SAC ¶ 281. There
   15
        are a number of federal laws criminalizing the obstruction of justice, including 18
   16
        U.S.C. §§ 1503 (obstruction of judicial proceedings), 1505 (obstruction of
   17
        congressional or administrative proceedings), 1510 (obstruction of investigations
   18
        by bribery), 1512 (witness tampering), 1513 (witness retaliation), and 1519
   19
   20   4
          In Dehen’s Ninth Cause of Action, for “Civil Conspiracy,” Dehen states that she
   21   “reserves the right to bring any and all additional causes of action including but not
        limited to, a cause of action for civil conspiracy amongst any or all of the named
   22   and unnamed defendants.” SAC ¶ 278. She then states (under the same heading for
        “Civil Conspiracy”) that she “reserves the right to bring additional claims
   23   including, but not limited to, claims relating to conflicts of interest against Perkins
   24   Coie LLP,” and “goes so far as to allege that discovery will prove that Perkins Coie
        LLP is guilty of violating numerous federal laws including, but not limited to,
   25   conspiring in the restraint of trade in violation of the Sherman Act, obstructing
        justice, impeding federal law enforcement investigations, contempt of court,
   26   treason, conspiracy to commit treason, [and] racketeering activity in violation of the
        RICO statute.” Id. ¶ 281. To the extent Dehen argues she has actually alleged,
   27   rather than “reserved the right” to allege, the offenses listed in paragraph 281, her
   28   allegations violate Rule 8’s pleading requirements.
            Mem. of Points and Authorities ISO        -12-         No. 17-cv-00198-LAB-WVG
            Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.2000 Page 22 of 28



    1   (obstruction of investigations by destroying evidence). Dehen does not specify
    2   which law she purports to invoke, but none may be enforced in a private suit. See,
    3   e.g., Williams v. Anderson, No. 1:18-CV-00183-AWI-SKO, 2018 WL 1806462, at
    4   *5 (E.D. Cal. Apr. 17, 2018) (“To the extent Plaintiff is attempting to assert a
    5   standalone claim for ‘obstruction of justice,’ it is not cognizable because there is no
    6   private cause action for that claim.”); Thomas v. Bryant, No. C09-5189-RBL, 2009
    7   WL 2473662, at *2 (W.D. Wash. Aug. 7, 2009) (dismissing claims under 18 U.S.C.
    8   §§ 1505, 1512, and 1513 because none of those statutes includes a private right of
    9   action).5 Accordingly, any attempt to bring an obstruction of justice claim would be
   10   futile.
   11                   b.     Treason
   12             Similarly, the federal statute criminalizing treason, 18 U.S.C. § 2381,
   13   includes no private right of action. See Ponvanit v. Superior Court of Cal., No. CV
   14   17-4054-FMO (JEM), 2018 WL 1135380, at *9 (C.D. Cal. Jan. 31, 2018)
   15   (recommending dismissal with prejudice of claim for treason under 18 U.S.C. §
   16   2381 because the criminal statute includes no private right of action), report and
   17   recommendation adopted, No. CV 17-4054-FMO (JEM), 2018 WL 1135502 (C.D.
   18   Cal. Feb. 27, 2018); Vachon v. Reverse Mortg. Sols., Inc., No. EDCV 16-02419-
   19   DMG (KES), 2017 WL 6628103, at *9 (C.D. Cal. Aug. 11, 2017) (plaintiff lacks
   20
   21   5
          See also, e.g., Shetty v. Am.’s Wholesale Lender, No. 16-CV-05846 NC, 2017 WL
   22   3387467, at *2 (N.D. Cal. Aug. 7, 2017) (dismissing claim for “conspiracy to
        obstruct justice” because, “as a matter of law, there is no private right of action for
   23   violations of 18 U.S.C. § 1503”); Volis v. Hous. Auth. of the City of Los Angeles
        (HACLA), No. CV 14-08747 DDP (PLAx), 2016 WL 5745079, at *2 n.5 (C.D. Cal.
   24   Sept. 30, 2016) (“Plaintiff’s complaint also alleges a cause of action for obstruction
        of justice, a crime, for which there is no private right of action.”), appeal docketed,
   25   No. 16-56573 (9th Cir. Oct. 21, 2016); Najarro v. Wollman, No. C 12-1925 PJH,
   26   2012 WL 1945502, at *3 (N.D. Cal. May 30, 2012) (“The claims of ‘obstruction of
        laws,’ ‘obstruction of justice,’ and ‘perjury’ are dismissed because there is no
   27   private right of action for any of those claims.”).
   28
            Mem. of Points and Authorities ISO        -13-        No. 17-cv-00198-LAB-WVG
            Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.2001 Page 23 of 28



    1   standing to assert claim for treason under 18 U.S.C. § 2381), report and
    2   recommendation adopted, EDCV 16-02419-DMG (KES), 2017 WL 6626649 (C.D.
    3   Cal. Dec. 28, 2017). Dehen therefore cannot sue Perkins for treason or conspiracy
    4   to commit treason.
    5                c.      Contempt
    6         Dehen pleads no facts that would support a claim for contempt. “In a civil
    7   contempt action, the moving party has the burden of showing by clear and
    8   convincing evidence that the contemnors violated a specific and definite order of
    9   the court.” Fed. Trade Comm’n v. Enforma Nat. Prod., Inc., 362 F.3d 1204, 1211
   10   (9th Cir. 2004) (internal quotation marks, alterations, and citation omitted). Only
   11   the court that issued the order has jurisdiction to find a party in contempt. See
   12   Young v. U.S. ex rel. Vuitton et Fils S.A., 481 U.S. 787, 800 n.10 (1987) (“[T]he
   13   court has jurisdiction in a contempt proceeding only over those particular persons
   14   whose legal obligations result from their earlier participation in proceedings before
   15   the court.”); Red Nation P’ship v. Kiga, 51 F. App’x 630, 632 (9th Cir. 2002) (“It
   16   almost goes without saying that the court against which contempt is alleged to have
   17   been committed has exclusive jurisdiction to punish for such contempt.”). Dehen
   18   cannot point to any “specific and definite order” of this Court that Perkins
   19   supposedly violated.
   20                d.      Racketeer Influenced And Corrupt Organizations Act
                             (“RICO”)
   21
              RICO applies to “person[s]” who are “employed by or associated with” an
   22
        “enterprise.” 18 U.S.C. § 1962(c); Cedric Kushner Promotions, Ltd. v. King, 533
   23
        U.S. 158, 161 (2001). Thus, liability under section 1962(c) requires the existence of
   24
        “two distinct entities: (1) a ‘person’; and (2) an ‘enterprise’ that is not simply the
   25
        same ‘person’ referred to by a different name.” Living Designs, Inc. v. E.I. Dupont
   26
        de Nemours & Co., 431 F.3d 353, 361 (9th Cir. 2005) (quoting Cedric, 533 U.S. at
   27
        161). Here, Dehen fails to identify the individuals or entities that constitute the
   28
         Mem. of Points and Authorities ISO         -14-         No. 17-cv-00198-LAB-WVG
         Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.2002 Page 24 of 28



    1   purported “enterprise.” “Racketeering activity” also requires the commission of
    2   predicate acts. See Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 495 (1985).
    3   Section 1961(1) sets forth an exhaustive list of predicate offenses, only one of
    4   which Dehen has actually alleged (as opposed to reserving the right to allege): a
    5   violation of 18 U.S.C. § 1951. As noted, however, Dehen has not alleged and
    6   cannot allege a claim under that statute. See Scheidler v. Nat’l Org. for Women,
    7   Inc., 537 U.S. 393, 409 (2003); see also supra at Section IV.B.1.c. Her RICO claim
    8   fails for that reason as well. See Scheidler, 537 U.S. at 411.
    9                e.     The First Amendment
   10         The First Amendment limits state action, not the actions of private
   11   companies. See Centr. Hardware Co. v. NLRB, 407 U.S. 539, 547 (1972); see also
   12   Roberts v. AT&T Mobility LLC, 877 F.3d 833, 837 (9th Cir. 2017) (“A threshold
   13   requirement of any constitutional claim is the presence of state action.”) (citation
   14   omitted). Because Perkins is a private law firm, Dehen cannot state a claim against
   15   it under the First Amendment.
   16                f.     The Sherman Act
   17         The Sherman Act makes unlawful combinations in restraint of interstate
   18   commerce (section 1) and attempts to monopolize any part of interstate commerce
   19   (section 2). 15 U.S.C. §§ 1, 2. To establish a claim under section 1, a plaintiff must
   20   show (1) “that there was a contract, combination, or conspiracy”; (2) “that the
   21   agreement unreasonably restrained trade under either a per se rule of illegality or a
   22   rule of reason analysis”; and (3) “that the restraint affected interstate commerce.”
   23   Cty. of Tuolumne v. Sonora Cmty. Hosp., 236 F.3d 1148, 1155 (9th Cir. 2001)
   24   (citation omitted). “In addition to these elements,” a plaintiff “must also plead (4)
   25   that [she was] harmed by the defendant’s anti-competitive contract, combination, or
   26   conspiracy, and that this harm flowed from an anti-competitive aspect of the
   27   practice under scrutiny.” Brantley v. NBC Universal Inc., 675 F.3d 1192, 1197 (9th
   28
         Mem. of Points and Authorities ISO         -15-        No. 17-cv-00198-LAB-WVG
         Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.2003 Page 25 of 28



    1   Cir. 2012) (internal quotation marks and citation omitted). “This fourth element is
    2   generally referred to as ‘antitrust injury’ or ‘antitrust standing.’” Id. “To state a
    3   claim under section 2, [p]laintiff must allege that: (1) the defendant possesses
    4   monopoly power in the relevant market; (2) the defendant has willfully acquired or
    5   maintained that power; and (3) the defendant’s conduct has caused antitrust injury.”
    6   Novation Ventures, LLC v. J.G. Wentworth Co., LLC, 156 F. Supp. 3d 1094, 1103
    7   (C.D. Cal. 2015) (internal quotation marks and citation omitted).
    8         Dehen has not alleged any facts to support any of these elements. She has not
    9   alleged facts showing that Perkins entered into any agreement that unreasonably
   10   restrained interstate commerce; that Perkins possesses monopoly power over any
   11   market; or that Dehen was harmed by any anti-competitive agreement or monopoly.
   12                g.     Civil Conspiracy
   13         Dehen “reserves the right to bring . . . a cause of action for civil conspiracy
   14   amongst any or all of the named and unnamed defendants.” SAC ¶ 278. But
   15   “[c]onspiracy is not a cause of action.” Ajetunmobi v. Clarion Mortg. Capital, Inc.,
   16   595 F. App’x 680, 683 (9th Cir. 2014) (citation omitted). Rather, it is “a legal
   17   doctrine that imposes liability on persons who, although not actually committing a
   18   tort themselves, share with the immediate tortfeasors a common plan or design in
   19   its perpetration.” Id. (citation omitted). “Standing alone, a conspiracy does no harm
   20   and engenders no tort liability. It must be activated by the commission of an actual
   21   tort.” Id. (citation omitted); see also Harrell v. 20th Century Ins. Co., 934 F.2d 203,
   22   208 (9th Cir. 1991) (“Under California law, it is well settled that there is no
   23   separate tort of civil conspiracy, and there is no civil action for conspiracy to
   24   commit a recognized tort unless the wrongful act itself is committed and damage
   25   results therefrom.”) (internal quotation marks, alterations, and citation omitted).
   26   Because Dehen fails to plead any underlying tort, her “reserved” claim of civil
   27   conspiracy also fails.
   28
         Mem. of Points and Authorities ISO          -16-        No. 17-cv-00198-LAB-WVG
         Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.2004 Page 26 of 28



    1   C.       Dehen Should Be Denied Leave To Amend
    2            The SAC is Dehen’s third attempt to adequately plead her claims. This Court
    3   permitted Dehen to file the SAC on specific conditions that she chose to ignore. See
    4   Dkt. 54. Among other things, Dehen chose not to “delet[e] meritless claims” and
    5   “irrelevant material” and chose not to add “specific factual allegations to support
    6   claims she believes are meritorious.” Id. at 2. Dehen instead retained all of her
    7   original claims, included no new factual allegations as to those claims, and added
    8   new claims against Perkins for extortion. She also “reserved the right” to file
    9   numerous additional claims against Perkins despite the Court’s warning that “[i]t’s
   10   not good enough to . . . ‘reserve the right’ to make other claims.” Id.
   11            “When a proposed amendment would be futile, there is no need to prolong
   12   the litigation by permitting further amendment.” Gardner v. Martino, 563 F.3d 981,
   13   990 (9th Cir. 2009) (citation omitted). A district court may also “deny leave to
   14   amend due to . . . repeated failure to cure deficiencies by amendments previously
   15   allowed.” Zucco Partners, LLC v. Digimarc Corp., 552 F.3d 981, 1007 (9th Cir.
   16   2009), as amended (Feb. 10, 2009) (internal quotation marks, alterations, and
   17   citation omitted). Three complaints in this case make clear that “further amendment
   18   would be futile.” Rutman Wine Co. v. E. & J. Gallo Winery, 829 F.2d 729, 738 (9th
   19   Cir. 1987). Dehen’s SAC also shows she is unable to cure the deficiencies
   20   identified in the Court’s earlier order. Dehen’s lawsuit against Perkins should be
   21   dismissed without leave to amend.6
   22   6
          In her opposition to the motions to dismiss filed by Twitter and USD, Dehen
   23   includes new accusations against Perkins. See Dkts. 60, 60-1. “The ‘new’
        allegations contained in [Dehen’s] opposition motion, however, are irrelevant for
   24   Rule 12(b)(6) purposes.” Schneider v. Cal. Dep’t of Corr., 151 F.3d 1194, 1197 n.1
        (9th Cir. 1998). “In determining the propriety of a Rule 12(b)(6) dismissal, a court
   25   may not look beyond the complaint to a plaintiff’s moving papers, such as a
   26   memorandum in opposition to a defendant’s motion to dismiss.” Id.; see also 2
        JAMES W. MOORE, MOORE’S FEDERAL PRACTICE § 12.34[2] (3d ed. 1997) (“The
   27   court may not . . . take into account additional facts asserted in a memorandum
        opposing the motion to dismiss, because such memoranda do not constitute
   28   pleadings under Rule 7(a).”). In any event, the new material is either unrelated to
            Mem. of Points and Authorities ISO     -17-         No. 17-cv-00198-LAB-WVG
            Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.2005 Page 27 of 28



    1                                  V.    CONCLUSION
    2         For the foregoing reasons, Perkins respectfully requests that the Court
    3   dismiss Dehen’s claims against Perkins with prejudice.
    4
    5         DATED: June 11, 2018.
                                                   Respectfully submitted,
    6
    7                                              /s/ James G. Snell
                                                   James G. Snell
    8
                                                   Attorneys for Defendant
    9                                              Perkins Coie LLP

   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24   Dehen’s lawsuit, see Dkt. 60-1 at 11-14 (summaries of news articles regarding
        Perkins’s role in the 2016 election and in other lawsuits), or directly undermines the
   25   allegations in Dehen’s complaint, see id. at 7-8 (suggesting that car accident was
   26   caused by a driver who was texting rather than orchestrated by Perkins).
        Accordingly, nothing in Dehen’s opposition suggests she would be able to state a
   27   plausible claim against Perkins if granted leave to amend.
   28
         Mem. of Points and Authorities ISO        -18-        No. 17-cv-00198-LAB-WVG
         Motion to Dismiss SAC
Case 3:17-cv-00198-LAB-WVG Document 63-1 Filed 06/11/18 PageID.2006 Page 28 of 28



    1                            CERTIFICATE OF SERVICE
    2         The undersigned hereby certifies that a true and correct copy of the foregoing
    3   document has been served on June 11, 2018 to all current and/or opposing counsel
    4   of record, if any to date, who are deemed to have consented to electronic service via
    5   the Court’s CM/ECF system per Local Rule 5.4(d). Plaintiff, who is pro se, will be
    6   served via overnight delivery at the following address:
    7
    8          Tiffany Dehen
    9          1804 Garnet Avenue #239
               San Diego, CA 92109
   10
   11
                                                            s/ James G. Snell
   12                                                       James G. Snell
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
         Mem. of Points and Authorities ISO       -19-        No. 17-cv-00198-LAB-WVG
         Motion to Dismiss SAC
